     Case 2:20-cv-04151-SB-PJW Document 26 Filed 04/24/21 Page 1 of 1 Page ID #:170
                                                                    April 24, 2021
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                              UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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      QUENIA PERIS, an individual,                   Case No.: 2:20-cv-04151-SB-PJW
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                 Plaintiff,                          (Removed from Los Angeles County
11                                                   Superior Court, Case No.
           vs.                                       20STCV12940)
12
                                         ORDER RE: JOINT STIPULATION
13 TOYOTA MOTOR SALES, U.S.A., INC., OF DISMISSAL WITH
   a California Corporation; ALDON, INC. PREJUDICE
14
   d/b/a CARSON TOYOTA; and DOES 1
15 through 20, inclusive,
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                 Defendants.
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           The stipulation is approved.       The entire action, including all claims and
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20 counterclaims stated herein against all parties, is hereby dismissed with prejudice.
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      Dated: April 24, 2021
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24                                                       Stanley Blumenfeld, Jr.
25                                                      United States District Judge
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                    ORDER RE: JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
